Nerth Garoline General Assembly
Senate Chamber
Stute Tegisiatiie Building
Raleigh, NG 27601-2808

March 11, 2021

Trails Carolina

Attn: Graham Shannonhouse, Executive Director
500 Winding Gap Rd.

Lake Toxaway, NC 28747

Dear Ms. Shannonhouse:
RE: NCDHHS Deficiency Reports and Plan(s) of Correction (3/25/2019) (6/19/2019) (10/1/2019)

As a function of our oversight responsibilities for facilities licensed under the North Carolina
Division of Health Service Regulation, Mental Health Licensure and Certification Section, we are
seeking the following information:

(1) Information on the ratio of Licensed Clinicians (defined as a Master or Doctoral level
mental health professional who have completed the necessary associate supervision
hours and is currently licensed as such by the State of North Carolina) to children in your
facility.

(2) The amount of time that a Licensed Clinician is engaged in in-person, therapeutic
session with residents in a given 24-hour period and over the course of (1) week. For
example, a child spends individual _ hours in session with a Licensed Clinician daily, _
hours in group session with a Licensed Clinician daily, and _ total hours with a Licensed
Clinician in a seven-day period.

(3) The qualifying educational and clinical criteria to work as a “Guide” at Trails Carolina.
Including what First Responder, CPR, or other emergency preparedness certifications
one must possess to be hired as a “Guide.” The extensiveness of the background check
performed on “Guides” before they are hired, and what past offenses preclude
someone from employment as a “Guide.”

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(4) The specific type(s) and duration of training a “Guide” receives before being sent into
the woods with children.

(5) Do Guides hand out or supervise the taking of medication (prescription or over the
counter}? If so, what credential do they possess that allows them to do so?

(6) The pay schedule for a “Guide.” Specifically, when Guides are in the woods supervising
children, are they paid for the entirety of the time they are out with the children (E.g.
when they spend the night in the field are they paid for those hours)? How do you
comply with applicable wage and hour laws, like mandatory overtime provisions?

{7) What is the approximate turnover rate among Guides and Clinicians? For example, of
our Guides __: % have been on the job less than 6 months, _% less than 1 year, __%
less than 3 years, etc. Please provide the same statistics for Licensed Clinicians.

(8) Do you use Federally or State Managed land (e.g. State Gamelands, Forest, and/or
National Forest) for your program? Do children and Guides sleep, hike, and/or camp on
any State or Federal land?

(9) What source of drinking water do children use while in the field?

(10) What physician(s) is responsible for medication management and prescribing to
children at trails? How often do children see that physician(s) for an in-person visit?

(11} What emergency response protocols are in place in the case of an incident in the
woods?

(12} Are children allowed unmonitored communication with third parties and/or family
members? What is the frequency and type of that communication (e.g. letters or phone

calls not in the presence of staff}?

{13} How do you make decisions to refer children who finish your program on to different
levels of care? (E.g. therapeutic boarding schools, residential treatment centers etc.}

(14) What percentage of children return home after completing the Trails Program? What
percentage of children are sent on to other for-profit programs?

(15) What role do “Education Consultants” play in the referral process, either to other
programs or to your program?

(16) Have you ever provided a financia! benefit to an Education Consultant, either a direct
payment or in-kind gift?

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Please submit your responses to: Senator Jim Burgin, Senator Joyce Krawiec and Senator Jim

Perry via electronic mail at: jim.burgin@ncleg.gov, joyce.krawiec@ncleg.gov and
jim.perry@ncleg.gov and USPS within ten days of receipt of this letter.

Sincerely,

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Senator Joyce Krawiec
Co-Chair Senate Healthcare

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Serrator Jim Perry
Co-Chair Senate Healthcare

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